     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 1 of 11 Page ID #:169



 1   EILEEN M. DECKER
     United States Attorney
 2   DENNISE D. WILLETT
     Assistant United States Attorney
 3   Chief, Santa Ana Branch Office
     ANNE C. GANNON (Cal. Bar No. 214198)
 4   Assistant United States Attorney
          United States Courthouse
 5        411 West Fourth Street
          Santa Ana, California 92627
 6        Telephone: (714) 338-3548
          Facsimile: (714) 338-3561
 7        E-mail:     anne.gannon@usdoj.gov

 8   Attorneys for Respondent
     UNITED STATES OF AMERICA
 9
                             UNITED STATES DISTRICT COURT
10
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     UNITED STATES OF AMERICA,                No.   SA CR 15-63(A)-JLS
12
               Plaintiff,                     GOVERNMENT’S OPPOSITION TO
13                                            DEFENDANT’S MOTION TO COMPEL
                     v.                       DISCOVERY
14
     TODD CHRISTIAN HARTMAN,                  MOTION HEARING:       10/16/2015
15                                                                  11:00 a.m.
               Defendant.                     ESTIMATE:             20 minutes
16

17        The government files its opposition to defendant’s motion to
18   compel discovery pursuant to Federal Rule of Criminal Procedure 16.
19   Dated: September 24, 2015            Respectfully submitted,
20                                        EILEEN M. DECKER
                                          United States Attorney
21
                                          DENNISE D. WILLETT
22                                        Assistant United States Attorney
                                          Chief, Santa Ana Branch Office
23

24
                                             /s/
25                                        ANNE C. GANNON
                                          Assistant United States Attorney
26
                                          Attorneys for Respondent
27                                        UNITED STATES OF AMERICA
28
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 2 of 11 Page ID #:170



 1                      MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.   INTRODUCTION
 3        Law enforcement agencies have designed various technologies and

 4   software to aid in their investigations of child pornography

 5   possession and trafficking offenses.        Peer Spectre is one such

 6   investigatory tool.     For the most part, technologies like Peer

 7   Spectre are designed to function like publicly-available, share-file

 8   programs that child pornography perpetrators use to commit their

 9   crimes.   However, the law enforcement software has been tailored to

10   provide specific information about perpetrators that can be used to

11   identify and apprehend them.

12        On September 18, 2015, defendant Todd Christian Hartman

13   (“defendant”) filed a motion to compel extensive discovery relating

14   to Peer Spectre, including its specifications and a copy of the

15   software itself (the “requested information”).          Defendant contends

16   that Peer Spectre was used to download images from defendant’s

17   computer that formed the basis for the search warrant affidavit and

18   search of defendant’s home.      (Def. Mot. at 3.)1      As described below,

19   defendant’s motion should be denied because A) the requested

20   materials are protected by a qualified law enforcement privilege;

21   B) he has not established that the requested information is material

22   to his defense; and C) his request is overbroad.

23

24        1
            While Peer Spectre was used in this investigation, it served a
25   different function. Peer Spectre reads publically available
     information about which Internet Protocol (“IP”) addresses are
26   offering child sexual abuse images online. A different program,
     Shareaza LE, is used to actually download the publicly available
27   images and videos from a single user once Peer Spectre identifies the
     IP address.
28
                                             1
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 3 of 11 Page ID #:171



 1   II.   STATEMENT OF FACTS
 2         Defendant is charged with one count of possession of child

 3   pornography, in violation of 18 U.S.C. § 2252A(a)(5)(B), and two

 4   counts of transportation of child pornography, in violation of 18

 5   U.S.C. § 2252A(a)(1).     The transportation of child pornography counts

 6   are based on Newport Beach Police Department Detective David Syvock

 7   downloading child pornography videos from an Internet Protocol

 8   address that resolved back to defendant’s residence.

 9         The government has produced materials relating to defendant’s

10   case during the course of discovery, including a description in the

11   search warrant affidavit of how Peer Spectre works and Detective

12   Syvock’s reports.     In addition, the government recently disclosed 63

13   digital files related to the downloading of the charged videos via

14   the Shareaza LE program..

15         On September 9, 2015, defendant requested the following

16   materials, which are the subject of the instant motion to compel:

17         1. An installable copy of the Peer Spectre program used by
              Detective David Syvock of the Newport Beach Police
18            Department, as described in his Affidavit in Support of
              Search Warrant dated February 3, 2015. If difference
19            versions of the program exist, please provide a copy of
              the version used by Detective Syvock during his
20            investigation of [defendant].

21         2. All documents in the government’s possession, custody, or
              control – and in the possession, custody, or control of
22            other law enforcement agencies involved with this
              investigation, including the Newport Beach Police
23            Department - regarding Peer Spectre, including documents
              regarding the program’s technical specifications.
24
           3. All documents and records in the government’s possession,
25            custody or control – and in the possession, custody or
              control of other law enforcement agencies involved in
26            this investigation, including the Newport Beach Police
              Department – regarding any other software, computer
27            programs, or the like, used by Detective Syvock during
              this investigation of [defendant].
28
                                             2
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 4 of 11 Page ID #:172



 1   (Def.’s Mot. at Ex. A.)      The government responded to defendant’s

 2   request on September 16, 2015.       (Def.’s Mot. at Ex. B.)

 3   III. ARGUMENT
 4        Defendant is not entitled to the requested materials because

 5   A) the requested materials are protected by a qualified law

 6   enforcement privilege; B) he has not established that the requested

 7   information is material to his defense; and C) his request is

 8   overbroad.    The government has complied, and will continue to comply,

 9   with its discovery obligations and defendant’s motion should be

10   denied.

11        A.      PEER SPECTRE IS A SENSITIVE LAW ENFORCEMENT INVESTIGATORY
                  TOOL PROTECTED BY A QUALIFIED PRIVILEGE
12
          Sensitive, investigatory techniques should not be subject to
13
     discovery without a showing of particular need.2              In this regard,
14
     courts have long recognized a qualified law enforcement privilege.3
15
          The Supreme Court first recognized a qualified law enforcement
16
     privilege in the context of the government’s ability to withhold the
17
     identity of informants.      Roviaro v. United States, 353 U.S. 53
18
     (1957).   Numerous circuits have extended Roviaro to other sensitive
19
     law enforcement investigative techniques, particularly relating to
20
     electronic surveillance.      In United States v. Van Horn, the Eleventh
21
     Circuit outlined the rationale for such an expansion of the qualified
22
     law enforcement privilege:
23
          Disclosing the precise locations where surveillance devices
24        are hidden or their precise specifications will educate
          criminals regarding how to protect themselves against
25
          2
            The standard for showing a particular need is addressed in
26   Part II.B. below.
          3
27          Claims of privilege are governed by common law. Fed. R. Evid.
     501.
28
                                             3
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 5 of 11 Page ID #:173



 1        police   surveillance.   Electronic  surveillance   is   an
          important tool of law enforcement, and its effectiveness
 2        should not be unnecessarily compromised. Disclosure of such
          information will also educate persons on how to employ such
 3        techniques themselves . . . .

 4   789 F.2d 1492, 1508 (1986).      See also United States v. Green,

 5   670 F.2d 1148, 1155 (D.C. Cir. 1981) (“[P]olicy justifications

 6   analogous to those underlying the well-established informer's

 7   privilege support a qualified privilege protecting police

 8   surveillance locations from disclosure.”); United States v.

 9   Crumley, 565 F.2d 945, 950 (5th Cir. 1978) (holding that the

10   government need not disclose the location of “track sheets”

11   [computer printouts listing all parts, including identification

12   numbers, used in the assemblage of a vehicle] because “they are

13   valuable tools used by law enforcement officers in discovering

14   and solving motor vehicle thefts”); accord United States v.
15   Cintolo, 818 F.2d 980 (1st Cir. 1987) (upholding limitations the

16   district court placed on defendant’s cross-examination of agent

17   regarding electronic surveillance techniques); United States v.

18   Gazie, 786 F.2d 1166, at *8 (6th Cir. 1986) (limiting cross-

19   examination regarding the type and location of electronic

20   microphone surveillance, despite defendant’s desire to use the

21   information to claim the voices were distorted).

22        Courts within the Ninth Circuit have also applied Roviaro to

23   other sensitive law enforcement investigative techniques.            See United

24   States v. Rigmaiden, 844 F. Supp. 2d 982, 999 (D. Ariz. 2012)

25   (holding that “real time and historical geolocation techniques” and

26   “radio wave collection methods” used by the government were “subject

27   to the Roviaro privilege” because disclosure “would hamper future law

28
                                             4
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 6 of 11 Page ID #:174



 1   enforcement efforts by enabling adversaries of law enforcement to

 2   evade detection”); see also United States v. Diaz, No. 2:13-CR-00148-

 3   JAD, 2014 WL 1668600, at *2–*3 (D. Nev. Apr. 25, 2014) (noting that

 4   “[p]ersuasive authority from other circuits has extended Rovario to

 5   recognize ‘a qualified government privilege not to disclose sensitive

 6   investigative techniques,’ provided the exclusion of such techniques

 7   does not unduly prejudice the defense” and therefore granting the

 8   government’s motion in limine to preclude questioning regarding the

 9   specifics of a recording device) (quoting Van Horn, 789 F.2d at
10   1507).   Cf. United States v. Budziak, 697 F.3d 1105, 1113 (9th Cir.

11   2012) (recognizing that “law enforcement confidentiality concerns”

12   may play a role in disclosure on remand); United States v. Mahon, No.

13   CR09-0712 PHX-DGC, 2011 WL 5006737, at *5 (D. Ariz. Oct. 20, 2011)

14   (stating that because “[c]ourts have applied the Rovario qualified

15   privilege to the location and composition of electronic surveillance

16   information,” if “disclosure of [wireless transmitter, electret

17   microphone, and wireless receivers] would compromise sensitive law

18   enforcement information,” the court would engage in a Rovario

19   analysis).

20        The qualified law enforcement privilege has been applied

21   specifically to child pornography cases.         In United States v.

22   Pirosko, the defendant sought to compel investigative software

23   similar to Peer Spectre.      See 787 F.3d 358, 363–64 (6th Cir. 2015).

24   The Sixth Circuit found persuasive the government’s argument that

25   granting the motion to compel “would compromise the integrity of its

26   surveillance system and would frustrate future surveillance efforts”

27   and, therefore, upheld denial of the motion.         See id. at 365–67.

28
                                             5
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 7 of 11 Page ID #:175



 1   Further, in United States v. Chiaradio, the First Circuit recognized

 2   that “the source code [for EP2P, an FBI investigatory tool for child

 3   pornography cases,] is purposely kept secret because the government

 4   reasonably fears that traders of child pornography (a notoriously

 5   computer-literate group) otherwise would be able to use the source

 6   code to develop ways either to evade apprehension or to mislead the

 7   authorities.”    684 F.3d 265, 278 (2012).

 8        The confidentiality concerns in this case are the same as those

 9   expressed in Pirosko, Chiaradio, and the many other surveillance

10   technology privilege cases cited above.         Permitting disclosure of a

11   copy of Peer Spectre or its specifications, and similar software,

12   would give defendant an insider’s perspective of how the software

13   works, thereby educating him (and other child pornography

14   perpetrators) on how to avoid detection by Peer Spectre in the

15   future.   As Chiaradio notes, child pornography perpetrators are “a

16   notoriously computer-literate group.”         684 F.3d at 278.    Indeed, this

17   fact makes the concerns of disclosing technology specifications even

18   higher in child pornography cases than in cases of video and

19   microphone surveillance, such as Van Horn, where the qualified law

20   enforcement privilege has also been upheld.

21        B.    DEFENDANT   HAS   NOT   ESTABLISHED   THAT           THE    REQUESTED
                INFORMATION IS MATERIAL TO HIS DEFENSE
22
          Because a qualified law enforcement privilege exists for the
23
     requested information, “[t]he burden of proof is on the defendant[]
24
     to show need for the disclosure.”       United States v. Sai Keung Wong,
25
     886 F.2d 252, 256 (9th Cir. 1989).          The defendant must first make a
26
     threshold showing of materiality, based on more than “speculation” or
27
     “suspicion,” that the disclosure would be relevant to his case.                See
28
                                             6
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 8 of 11 Page ID #:176



 1   United States v. Ibarra, 581 F. Appx. 687, 689 (9th Cir. 2014).                As

 2   the Ninth Circuit noted in United States v. Budziak, “conclusory

 3   allegations of materiality [will not] suffice.’”          697 F.3d 1105, 1111

 4   (9th Cir. 2012) (quoting United States v. Mandel, 914 F.2d 1215, 1219

 5   (9th Cir. 19990).4

 6        If the defendant fails to make this threshold showing of

 7   materiality, the motion to compel must be denied.          See Ibarra, 581 F.

 8   Appx. at 689 (upholding the district court’s denial of defendant’s

 9   motion for in camera review of an informant’s file or to disclose the

10   identity of the informant because the defendant “provided only

11   speculation and suspicion” that the information “would be ‘relevant’

12   or ‘helpful’ to any defense”).       Only when the defendant has made this

13   threshold showing of materiality should the court proceed to “balance

14   1) the extent to which disclosure would be relevant and helpful to

15   the defendant’s case, and 2) the government’s interest in protecting”

16   the sensitive information.      United States v. Spires, 3 F.3d 1234,

17   1238 (9th Cir. 1993); see also Roviaro, 353 U.S. at 62 (noting that

18   the court must consider “the public interest in protecting the flow

19   of information against the individual’s right to prepare his

20   defense”).   If the threshold showing is made, an ex parte, in camera

21   hearing of the requested information will be held to aid the court in

22
          4
23          Here, the standard for materiality is the same as in Federal
     Rule of Criminal Procedure 16. Compare United States v. Ibarra, 581
24   F. Appx. 687, 689 (9th Cir. 2014) (stating the standard for threshold
     materiality in the law enforcement privilege context as whether the
25   discovery “would be ‘relevant’ or ‘helpful’ to any defense), with
     United States v. Doe, 705 F.3d 1134, 1151 (9th Cir. 2013) (stating
26   the standard for Rule 16 materiality as whether the discovery “would
     . . . have been helpful to [the] defense”). Therefore, if defendant
27   has not met the qualified law enforcement privilege threshold for
     materiality, he also has not met the Rule 16 standard.
28
                                             7
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 9 of 11 Page ID #:177



 1   balancing the parties’ interests.       United States v. Salazar, 598 F.

 2   Appx. 490, 493 (9th Cir. 2015).

 3        First, defendant has not made the requisite threshold showing of

 4   materiality.     Defendant mistakenly relies on United States v.

 5   Budziak to support his claim of materiality.         (Def.’s Mot. at 5–6.)

 6   In Budziak, the court held that discovery of law enforcement software

 7   was material to his defense when the defendant’s motions to compel

 8   had included evidence “suggesting that the FBI may have only

 9   downloaded fragments of child pornography files[,] . . . making it

10   ‘more likely’ that he did not knowingly distribute any complete child

11   pornography files.”     697 F.3d at 1112.     The defendant also “submitted

12   evidence suggesting that the FBI agents could have used the . . .

13   software to override his sharing settings.”         Id.    Indeed, the

14   defendant presented testimony of a computer forensics expert stating

15   what additional information could be uncovered through inspection of

16   the software and be helpful to his defense.         Id.    The Budziak court

17   noted that unlike in Chiaradio, where “the defendant ‘neither

18   contradicted nor cast the slightest doubt upon’ the government’s

19   testimony [regarding] the materials it had already provided to him[,]

20   . . . Budzik presented arguments and evidence suggesting that the

21   materials disclosed by the FBI did not resolve all questions relevant

22   to his defense.”    Id. at 1112 n.1 (quoting Chiaradio, 684 F.3d at

23   277) (emphasis added).     Because the evidence submitted by the Budziak

24   defendant demonstrated precisely how the requested information would

25   be helpful to his specific defenses, the court held the discovery

26   material.   Id. at 1112–13.

27        This case is like Chiaradio, not Budziak.            Defendant makes two

28
                                             8
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 10 of 11 Page ID #:178



 1   “conclusory allegations of materiality” for the requested

 2   information: that whether he “knowingly shared child pornography

 3   hinges on the technical specifications and reliability of this

 4   computer program;” and that information regarding “how Peer Spectre

 5   works and its reliability” is necessary for cross-examining Detective

 6   Syvock.    (Def.’s Mot. at 5.)     Here, defendant fails to provide any

 7   detail as to how Peer Spectre’s technical specifications could help a

 8   specific defense.     Whereas the Budziak defendant “identified specific

 9   defenses to the distribution charge that discovery on the [law

10   enforcement] program could potentially help him develop,” 697 F.3d at

11   1112, defendant can offer no explanation for how the requested

12   information could rebut his distribution charges.           See also Pirosko,

13   787 F.3d at 365 (distinguishing Budziak on the fact that the Budziak

14   defendant had “presented evidence,” including expert testimony, of

15   how the discovery would help two specific defense claims and noting

16   that “it is important for the defendant to produce some evidence of

17   government wrongdoing”).

18           Just as in Budziak, the government has provided defendant with a

19   description of how Peer Spectre works.         In Budziak, however, the

20   defendant’s charge was “predicated largely on computer software

21   functioning in the manner described by the government.”            697 F.3d at

22   1113.    That is not precisely the case here.        The government’s case is

23   also based on the same files being found on defendant’s computer

24   after it had been seized.      Because defendant’s case is distinct from

25   Budziak in this significant regard, defendant cannot present the

26   types of evidence regarding his need for the information that were

27   persuasive to the Budziak court.

28
                                             9
     Case 8:15-cr-00063-JLS Document 37 Filed 09/24/15 Page 11 of 11 Page ID #:179



 1         Even if defendant could satisfy the requisite threshold showing

 2   of materiality, he would not be entitled to the requested

 3   information.    The public interests in limiting disclosure of Peer

 4   Spectre’s specification information are vast, as outlined in Part

 5   III.A. above, and outweigh any relevance defendant could allege to

 6   his case.5

 7         C.     DEFENDANT’S REQUEST IS OVERBROAD
 8         Defendant requests “[a]ll documents . . . regarding Peer

 9   Spectre.”    Defendant does not attempt to describe the types of

10   information or documents sought regarding Peer Spectre, nor does he

11   limit the request to documents regarding his case.           It would be

12   incredibly burdensome for the government to gather every document it

13   has regarding Peer Spectre, not to mention the immateriality and

14   confidentiality concerns that would arise with respect to Peer

15   Spectre documents for other defendants.         Because defendant’s request

16   is unreasonable and overbroad, his motion should be denied.

17   IV.   CONCLUSION
18         For the foregoing reasons, defendant’s motion to compel should

19   be denied.

20

21

22

23

24

25         5
            Because defendant has provided no indication of how the
26   requested information is material to his defense, the government
     cannot presently make a specific argument regarding the balancing of
27   interests required by Roviaro and Spires. The government reserves
     the right to supplement this argument.
28
                                            10
